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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     )
UNITED STATES OF AMERICA,            )
                                     )
      v.                             )
                                     ) Crim. Action No. 21-0159 (ABJ)
CLEVELAND                            )
GROVER MEREDITH, JR.,                )
                                     )
                  Defendant.         )
____________________________________)


                                            ORDER

         Before the Court is Defendant’s Motion to Revoke Magistrate Judge’s Order of Detention

Pending Trial and to Set New Conditions of Release [Dkt. # 19]. For the reasons stated in the

accompanying sealed Memorandum Opinion [Dkt. # 37], the Court finds that defendant is eligible

for detention, as a threat to injure under 18 U.S.C § 875(c) is a crime of violence for purposes of

the Bail Reform Act.

         Further, because the Court finds that no condition or combination of conditions would

adequately protect the community, after considering the four factors described in 18 U.S.C. §

3142(g), defendant’s motion is DENIED and defendant is hereby ORDERED detained pending

trial.




                                             AMY BERMAN JACKSON
                                             United States District Judge

DATE: May 20, 2021




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